Case 4:02-cV-02131 Document 4 Filed in TXSD on 06/04/02 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION

JANE DoE, A MINOR, §
Plaintiff, §
§

vs. § cleL ACTIoN No: \.§, Q'g - g 15 \
§
MINOLA’s PLACE OF TEXAS RESlDENT:AL §
TREATMENT CENTER; ADMINISTRATOR, §
MINoLA’s PLACE oF TEXAS §
REleENTIAL TREATMENT CENTER, IN HER §
INDlleUAL ANI) OFFlclAL CAI>ACrrY §
Defendants. §

QB_DM
Motion having been made, and the Court having been sufficiently advised,
IT IS ORDERED that Plaintiff's Motion to Proeeed Under Pseudonyms is hereby
GRANTED; that PlaintiH` Doe may proceed pseudonymously; and that any documents required
to be signed by such Plaintiff may be filed with her true name expunged and replaced by

pseudonyms, with the signed originals retained in the possession of Plaintift` s counsel.

CM%S@%M “

United States District Judge

Dated:C:-~L_)G6 ((/l Z 601

Case 4:02-cV-O2131 Document 4 Filed in TXSD on 06/04/02 Page 2 of 2

Certiiicate of Service
IAFFIRM that a copy of the forgoing has been served on the following: Minola’s

PIace and Administrator of Minola’s Place, Ms. Grey, at th ollowing address: 16690

   

Champion Forest Drive, #293, Spring, Texas 77379 on {

 

